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Text       Date &      Messages supplied by               Messages supplied by   Comment
message    Time        John                               Sally
number                 (Complete)
TM1        Tuesday,    SS: yo
           May 15,
           6:08 p.m.
TM2                    SS: I heard you are
                       [REDACTED FRATERNITY]
                       summer social

TM3                    JD: Yes

TM4                    JD: Yo yo

TM5                    SS: lit ok so you guys
                       better have events with
                       [REDACTED SORORITY] (i
                       know we are kinda derpy
                       but like I’m in that house
                       and so is [REDACTED
                       STUDENT NAME]—even
                       tho she will be gone ☹)


TM6                    SS: also how have you
                       been ?! its been too long!

TM7                    JD: Hahah I’ll be up this
                       weekend but the off term
                       is going great!

TM8                    JD: [REDACTED STUDENT
                       NAME] is dealing w your
                       social chair and booked
                       two tails I think. We had
                       to book one at the end of
                       August cuz we’re already
                       like full. We’ll try to find
                       some more dates tho.
                       [REDACTED STUDENT
                       NAME] sent our schedule
                       you could take a look

TM9                    SS: Oh lit! I’m v stoked for
                       this weekend! Ok amazing
                       yeah I know its like the
                       “dorky house” but like

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                  also a bunch of cool 20s
                  got stuck in it cause rush
                  this year SUCKED.


TM10              SS: when do you get up
                  here??

TM11              JD: Thursday night


TM12              JD: I don’t discriminate
                  hahah our house is largely
                  wicked dumb

TM13              SS: Booooo youre already
                  missing like half of the
                  going out scene cause
                  Wednesday is like actually
                  one of the best nights

TM14              SS: do you even like
                  tinashe?? I literally barely
                  know her

TM15              SS: between you house
                  and mine then maybe we
                  are like an even level of
                  smart then?

TM16              SS: *your

TM17              JD: I’m working an
                  internship haha I barely
                  got Friday off


TM18              JD: Hahah I guess that’s a
                  good balance yeah

TM19              SS: ohhhh ok that’s fair.
                  whats your internship
                  in???


TM20              SS: exactly!! and a bunch
                  of ice skaters are in -


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                    REDACTED SORORITY] so
                    like ice skaters and
                    hockey players

TM21                JD: Haha talk to your
                    social chair to set more
                    stuff up!


TM22                JD: I’m at [REDACTED
                    INTERNSHIP PLACEMENT]

TM23    Tues, May   SS: wow are you a sick
        15, 9:06    econ major??
        PM


TM24                SS: I did!!I and they also
                    told me to bug u guys
                    cause they know I’m
                    friends with you guys!!!

TM25                SS: do you like it or not
                    really?? (your internship)

TM26                JD: Yeah I like it. Your
                    social has our schedule
                    she should just book more
                    dates then haha


TM27                JD: You gonna go out
                    Thursday night?

TM28                SS: hell yes!! I’m probably
                    going out more at the
                    beginning of this weekend
                    then the end because I
                    have an orgo midterm on
                    Tuesday

TM29                JD: Sweet. You still live in
                    a single by [REDACTED
                    FRATERNITY]? May need
                    a room to crash in lol




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TM30              SS: HAHAHAHA jumping
                  to conclusions I see??? I
                  think [REDACTED
                  FRATERNITY] couch will
                  be plenty comfy for u 😉
                  but yes I still live in a
                  single by [REDACTED
                  FRATERNITY] !!!


TM31              SS: I’m literally right
                  across the street

TM32              JD: Believe me I thought
                  about that but everyone
                  w/a couch has a gf or will
                  have a girl in there so I
                  can’t sleep there

TM33              JD: Just need a roof over
                  my head never asked for a
                  bed hahah

TM34              SS: that’s an assumption
                  that a lot of your friends
                  are wheeling I take it??
                  damnnn and apparently
                  you don’t think I’m gonna
                  have a guy there?? maybe
                  I will hahahaha that’d be
                  quite a night.

TM35              SS: of course

TM36              SS: mi casa es sue casa

TM37              JD: Mostly girlfriends. If
                  you have a guy over I’ll
                  have to look for another
                  roof haha idk the forecast
                  is rain in Boston at least
                  Don’t want to sleep
                  outside




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TM38              JD: Of course a bed is
                  better than the floor but
                  I’ll take whatever I can get

TM39              SS: Hahahahaha of
                  course, you are totally
                  welcome to stay. Are you
                  here the entire weekend?
                  Lmao i have a pretty
                  comfy bed—just saying



TM40              SS: lol no one wants to
                  sleep outside

TM41              SS: plus if I have a guy
                  you can stay in my room
                  and ill go to their room

TM42              JD: Sounds good

TM43              JD: Yeah I’m staying all
                  weekend but taking the
                  sleeping thing one day at
                  a time and just figuring it
                  out haha

TM44              SS: honestly not a bad
                  plan!! tbh I think a bunch
                  of people will be looking
                  for places to stay


TM45              SS: hopefully the weather
                  is nice enough tho cause
                  block party!!!

TM46              SS: ALSO: BLESS UP IM                      SS “reacted” to, or
                  NOT DYINGLY ILL                            “liked,” this text
                                                             with a heart
TM47              JD: Glad to hear your
                  feeling good that’s
                  awesome




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TM48    Thu, May    JD: Looking like I’m going
        17, 10:54   to need that sleepover
        PM          haha

TM49                SS: Lmao I’m just going
                    out rn

TM50                JD: Me too

TM51    Fri, May    JD: Just let me know
        18, 12:39   what your plan is
        AM
TM52                JD: ?

TM53                SS: Still drunk and
                    dancing lmao

TM54                JD: Let me know

TM55                SS: i think I’m gonna be
                    hanging out with
                    someone tonight—tbd I
                    might kick them out

TM56    Fri, May    JD: No worries
        18, 9:58
        AM


TM57    Fri, May    JD: What are you up to
        18, 9:35
        PM
TM58                JD: Don’t even wanna say
                    hi huh

TM59                SS: Where were u??

TM60                SS: I didn’t see ya!

TM61                SS: Where were u??

TM62                JD: Walking back to
                    [REDACTED FRATERNITY]
                    you?

TM63                SS: I didn’t see ya!



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TM64              JD: Where are you?

TM65              JF: Wow

TM66              SS: I couldn’t hear u

TM67              SS: Sorry

TM68              SS: What’s up

TM69              JD: I really need a place
                  to sleep if a guy isn’t
                  sleeping over.

TM70              JD: Plus I wanna say hi at
                  some point haha

TM71              SS: Yes yes of course I
                  wanna say hi too!!!

TM72              SS: And one sec

TM73              JD: I can meet you at
                  your room just let me
                  known

TM74              JD: !!

TM75              SS: I will!! I’m at
                  [REDACTED SORORITY]
                  playing pong rn

TM76              SS: Sorry wierd ass night
                  so far

TM77              SS: Were u at the fight??

TM78              JD: Fight?

TM79              JD: Feel like we should
                  chat idk

TM80              SS: What!!? No like some
                  rando not on campus got
                  in a fight!!




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TM81                SS: We are good (pink
                    double heart)

TM82                SS: Like at bg they had to
                    call the cops

TM83                JD: Ya but like haven’t
                    seen you

TM84                SS: Yeah! I wanna see ya
                    too!

TM85                JD: We should meet up
                    soon. If you wanna go
                    out after you should but
                    I’m so tired and need a
                    bed

TM86                JD: Because I slept on a
                    floor last night

TM87                JD: Disappointed in you.
                    Don’t even wanna say hi
                    kinda mean

TM88    Sat, May    SS: I got pulled into
        19, 1:50    harbor
        AM

TM89                SS: Wya??

TM90    Sat, May    SS: [JOHN]
        19, 11:19
        AM
TM91                SS: U GO TO SLEEP SO
                    EARLY

TM92                JD: Hahahah

TM93                JD: It was a long day

TM94                SS: UGH. I’m all about
                    that rally apparently


TM95                SS: I actually really didn’t
                    wanna play harbor but

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                     like we were all there so it
                     just happened

TM96     Sat, May    JD: Hahah ya I needed a          JD: Hahah ya I needed a      SS began her
         19, 1:12    bed bad                          bed bad                      submission of text
         PM                                                                        messages here. SS
                                                                                   misstated this text
                                                                                   as “I need a bed
                                                                                   bad” in her
                                                                                   Sanctioning
                                                                                   Statement

TM97     Sat, May    SS: AGH IF U WERE                                             SS’s submission
         19, 2:17    AWAKE LATER !! also i just                                    omitted this text
         PM          wanna say hi

TM98     Sat, May    JD: Going to [REDACTED           JD: Going to [REDACTED
         19, 8:56    FRATERNITY]                      FRATERNITY]
         PM
TM99                 JD: ?                            JD: ?

TM100                JD: Maybe say hi at some         JD: Maybe say hi at some
                     point?                           point?

TM101                SS: yes yes I wanna say hi       SS: yes yes I wanna say hi
                     and catch up—not at              and catch up—not at
                     [REDACTED FRATERNITY]            [REDACTED FRATERNITY]
                     rn—doing work because I          rn—doing work because I
                     have a midterm soon              have a midterm soon

TM102                JD: Ok text me when              JD: Ok text me when
                     you’re done studying we          you’re done studying we
                     can watch a movie or             can watch a movie or
                     something                        something

TM103    Sun, May    JD: ?                            JD: ?
         20, 12:08
         AM
TM104                JD: I leave tomorrow so          JD: I leave tomorrow so
                     we have to say what’s up.        we have to say what’s up.

TM105                SS: Im still doing chem ☹        SS: Im still doing chem ☹


TM106                SS: hows the parties?            SS: hows the parties?




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TM107                 JD: Fun when are you            JD: Fun when are you
                      gonna be done?                  gonna be done?

TM108                 JD: ?? You’ve gotta be          JD: ?? You’ve gotta be
                      done                            done

TM109                 JD: Let me know when            JD: Let me know when
                      you’re walking                  you’re walking

TM110                 SS: I just got back to          SS: I just got back to
                      [REDACTED DORMITORY]!           [REDACTED DORMITORY]!
                      I wanna say hi too but I        I wanna say hi too but I
                      have to go to bed pretty        have to go to bed pretty
                      soon so I can study more        soon so I can study more

TM111                 JD: Ok should I head over       JD: Ok should I head over
                      now?                            now?

TM112                 SS: Yeah but don’t expect       SS: Yeah but don’t expect
                      to come to my room and          to come to my room and
                      hook up [grimace emoji]         hook up [grimace emoji]

TM113                 JD: Sounds good                 JD: Sounds good

TM114                 SS: Perf                        SS: Perf

TM115                 SS: Yes then                    SS: Yes then

TM116                 SS: Come to [REDACTED           SS: Come to [REDACTED
                      DORMITORY]                      DORMITORY]

TM117                 JD: Walking                     JD: Walking

TM118                 JD: Can you let me in           JD: Can you let me in

TM119     Sun, May    SS: Had to deal with a                                      SS’s submission did
          20, 9:44    friend last night. Don’t                                    not include this
          AM          know when I’ll be back—                                     text.
                      been a shit show

TM120     Sun, May    JD: 100 % understand                                        SS’s submission did
          20, 10:45                                                               not include this
          AM                                                                      text.




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